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        Opposition by Co-Lead Class Counsel to the Objection of the NFL Parties to the
                  Special Master’s Ruling on Application of the Definition of
                      Eligible Season to Game Day Roster Designations

                                OVERVIEW & BACKGROUND

         Co-Lead Class Counsel submits this Opposition to the NFL Parties Objection to the

Special Master’s Ruling on Application of the Definition of Eligible Seasons to Game Day

Roster Designations (“Objections”). As the Court recognized in granting final approval to the

Settlement, the “Eligible Season” was intended to serve as “a proxy for the number of concussive

hits a Retired Player experienced as a result of playing NFL Football.” 1 Accordingly, consistent

with the plain language of the Settlement Agreement—in alignment with the Settlement’s

broader context—the Special Master properly ruled that Retired NFL Football Players on the

Active List (that is the full 53-Man Roster) should earn credit toward an Eligible Season. Ruling

at 8.

         The NFL through its Objection again tries to strip Retired NFL Football Players who

practiced all week (and were on their team’s Active List, but simply did not “suit up” for that

week’s game) of any credit toward an Eligible Season. In the NFL’s view, notwithstanding their

full participation and exposure to NFL activities—and hits—during the practice week, such

inactive, but healthy, players get zero credit towards an Eligible Season for all of their Active

List efforts. In sharp contrast, even those players who were never on an Active List but instead

were only on a team’s developmental or practice squads would earn credit toward half an


         1
          In re Nat. Football League Players’ Concussion Injury Litig., 307 F.R.D. 351, 409
(E.D. Pa. 2015), amended sub nom. In re Nat’l Football League Players’ Concussion Injury
Litig., No. 2:12-MD-02323-AB, 2015 WL 12827803 (E.D. Pa. May 8, 2015), and aff’d sub
nom. In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410 (3d Cir.
2016), as amended (May 2, 2016), cert. denied sub nom. Gilchrist v. Nat’l Football League, 137
S. Ct. 591, 196 L. Ed. 2d 473 (2016), and cert. denied sub nom. Armstrong v. Nat’l Football
League, 137 S. Ct. 607, 196 L. Ed. 2d 473 (2016).
                                                  1
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Eligible Season. Indeed, were the NFL’s tortured interpretation of the Settlement Agreement

operative, Retired NFL Football Players on the Active List who did not “suit up” for a game

would be treated no better than those Retired NFL Football Players who were unable to engage

in football-related activities due to injuries or otherwise.

          The NFL’s arguments were considered by the Special Master, and were properly

rejected: “[T]he plain meaning of the terms of the [Settlement] Agreement” requires that “NFL

Players who were on the Active List on the calendar day of their Club’s particular regular season

or postseason game shall receive credit toward that game for the purposes of calculating an

Eligible Season.” Ruling at 8. The Court should affirm the Ruling of the Special Master and, in

so doing, ensure that Retired NFL Football Players receive all of the benefits negotiated on their

behalf.

                                     The Settlement Agreement

          In granting Final Approval of the Settlement, the Court succinctly summarized the

allegations of the dire situation faced by the Retired NFL Football Players after years of on-

going exposure to head hits throughout their NFL careers:

          MDL Plaintiffs allege that the NFL Parties fostered a culture surrounding football
          that glorified violence and a gladiator mentality, encouraging NFL players to play
          despite head injuries.
                                         *        *       *      *
          MDL Plaintiffs allege that head injuries lead to a host of debilitating conditions,
          including Alzheimer’s Disease, dementia, depression, deficits in cognitive
          functioning, reduced processing speed, attention and reasoning, loss of memory,
          sleeplessness, mood swings, and personality changes. MDL Plaintiffs also allege
          that the repetitive head trauma sustained while playing football causes a gradual
          build-up of tau protein in the brain, resulting in Chronic Traumatic Encephalopathy
          (“CTE”). CTE allegedly causes an increased risk of suicide, and many symptoms
          often associated with Alzheimer’s Disease and dementia, as well as with mood
          disorders such as depression and loss of emotional control.

307 F.R.D. at 362.



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       In negotiating the Settlement Agreement, the Parties established a measure of the risk to

which any given Retired NFL Football Player was exposed—the “Eligible Season.” While a

Retired NFL Football Player did not need to establish any Eligible Seasons to register for the

Settlement or to receive a Monetary Award when he was diagnosed with a Qualifying Diagnosis,

the number of Eligible Seasons earned throughout his career determines the amount of his

Monetary Award. 2 If a Retired NFL Football Player earned five or more Eligible Seasons, he is

eligible for the full award at his age (subject to other offsets). Settlement Agreement § 6.7(b)(i).

However, if a Retired NFL Football Player earned fewer than five Eligible Seasons, his award

will be subject to increasing offsets, with a Retired NFL Football Player who earned no Eligible

Seasons facing a reduction of his Monetary Award of 97.5%. Id.

       An Eligible Season is not measured by how many years a Retired NFL Football Player

was under contract with an NFL team. Rather, it considers the nature of a Retired NFL Football

Player’s exposure to the risk of head hits. For example, a Retired NFL Football Player who was

on his team’s Active List on the date of three or more regular or post-season games in a season

earned an Eligible Season for that season. A Retired NFL Football Player who was not on the

Active List, and only on his team’s developmental, taxi, or practice squad for eight or more

games earned half an Eligible Season. Finally, a Retired NFL Player who was inactive due to

injury would earn no credit toward an Eligible Season, unless he had a concussion or head injury.

       The Settlement Agreement provides in full that an “Eligible Season” means:

       a season in which a Retired NFL Football Player or deceased Retired NFL
       Football Player was: (i) on a Member Club’s Active List on the date of three (3)
       or more regular season or postseason games; or (ii) on a Member Club’s Active
       List on the date of one (1) or more regular or postseason games, and then spent at


       2
         Additionally, to be eligible for the other major benefit of the Settlement, the free
examination under the Baseline Assessment Program, a Retired NFL Football Player needs to
have earned at least one-half an Eligible Season. Settlement Agreement § 5.1.
                                                 3
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        least two (2) regular or postseason games on a Member Club’s injured reserve list
        or inactive list due to a concussion or head injury.

        A “half of an Eligible Season” means a season in which a Retired NFL Football
        Player or deceased Retired NFL Football Player was: (i) on a Member Club’s
        practice, developmental, or taxi squad roster for at least eight (8) regular or
        postseason games; or (ii) on a World League of American Football, NFL Europe
        League, or NFL Europa League team’s active roster on the date of three (3) or
        more regular season or postseason games or on the active roster on the date of one
        (1) or more regular or postseason games, and then spent at least two (2) regular or
        postseason games on the World League of American Football, NFL Europe
        League, or NFL Europa League injured reserve list or team inactive list due to a
        concussion or head injury.

Settlement Agreement § 2.1(kk).

        The Settlement Agreement defines “Active List” as “the list of all players physically

present, eligible and under contract to play for a Member Club on a particular game day within

any applicable roster or squad limits set forth in the applicable NFL or American Football

League Constitution and Bylaws.” 3 Settlement Agreement § 2.1(a).

        By way of comparison, the NFL Constitution and Bylaws (“NFL Constitution”) provides

that the “Active List . . . shall consist of all players eligible to play in any preseason, regular

season, playoff, championship, or postseason game then under contract to the club within the

applicable player limit as set out in the preceding section [Section 17.1].” NFL Constitution §




        3
          The Constitution and Bylaws applicable to the majority of Retired NFL Football
Players first went into force on February 1, 1970 and was subject to occasional revision through
to 2010. A copy of Article XVII of the NFL Constitution – “Player Limits and Eligibility”
accompanies this Opposition. The Settlement-Agreement reference to the term “roster” only
appears in the NFL Constitution and Bylaws when discussing the full 80 man roster, and
required “roster reduction to [53] players on the Active List.” NFL Constitution § 17.1 (C) and
(D). The term “squad” only appears when discussing the “Practice Squad” (which consists of a
limited number of free agents who will participate in practice from week to week and is separate
from the Active List), and the “Left Squad” (which is part of the Reserve List). Id. §§ 17.1, 17.5,
17.17.
                                                   4
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17.2. 4 The “preceding section” of the NFL Constitution, Section 17.1, sets forth the applicable

player limits at particular points in time, noting that a team is required to reduce its Active List to

53 players from its full 80 man roster by the end of preseason. See generally id. § 17.1; id. §

17.1(F). Within the context of the Settlement Agreement, each of these 53 players would be

under contract and eligible to play on a particular game day, thus satisfying the Settlement

Agreement’s definition for inclusion on the team’s Active List on the date of a particular game. 5

            Approval of Eligible Seasons as a Reasonable Proxy for Head Injuries

       In support of Final Approval, the Parties made clear in their respective submissions that

Eligible Seasons was a “proxy for the number of concussive hits a Retired Player experienced as

a result of playing NFL Football.” For example, in their Memorandum of Law in Support of

Final Approval of the Class Action Settlement Agreement and in Response to Objections (ECF

No. 6422) (“NFL Final Approval Mem.”), the NFL said plainly that “to the extent retired players

have alleged that playing football caused their injuries, it makes good sense to use the amount of



       4
           Section 17.14 of the NFL Constitution makes clear that there are three “lists” on which
a player can be listed: Active List, Reserved List, and Exemption List. The NFL endeavors to
use the term “eligible” to establish that the Parties could mean only the “45 Man” roster for the
term Active List as used in the Settlement Agreement. However, the NFL Constitution (which
drives the definition in the Settlement Agreement, says otherwise. Players on the full 53-Man
Active List are eligible to play in any game. Id. § 17.2. Players on the Reserved List and
Exemption List are ineligible to play. See Id. §§ 17.5, 17.6(A), 17.14(A) (taking players on the
Exempt list off of the Active List). Players on the Active List who are announced to be inactive
on any given week’s game day (the so-called “Inactive List”) are simply a subset of those on the
Active List which are all the players eligible to play. A subset of the inactive players will be
injured and may also be injured due to “concussion or head injury” as contemplated in the
Settlement Agreement, Section 2.1(kk)(ii)(2). The NFL Parties repeatedly use a term “seasonal
Active List” in their Objections, but there is no such list.
         5
           Within a separate provision, the NFL Constitution further delineates the Active List,
providing that one hour and 30 minutes prior to kickoff, requiring each club to establish its “45-
player Active list” for the game, id. § 17.3 (emphasis added)—a distinction eschewed by the
Settlement Agreement. Accordingly, the Special Master noted that “[i]f the parties had intended
to specify that a Player must be on the Active List at the particular moment that the game starts
[i.e. the 45 player roster] . . . they could have written the provision accordingly.” Ruling at 7.
                                                   5
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time a retiree played in the NFL as a fair proxy for alleged exposure to repetitive concussive and

subconcussive events—the key common allegation in all these cases.” NFL Final Approval

Mem., at 6; see also id. at 18, 106-107, 108 n.48. Indeed, the NFL acknowledged that Monetary

Awards under the Settlement are tied directly to the Retired NFL Football Player’s exposure to

risk: “as a proxy for the exposure of a Retired NFL Football Player to repetitive head impacts

while playing in the NFL, the Settlement Agreement applies an Offset based on the number of

Eligible Seasons played. Thus, the more Eligible Seasons played, the smaller the Offset.” Id. at

18. Thus, in contrast to a Retired NFL Football Player on an “Active List”, a Retired NFL

Football Player on injured reserve with a broken leg would earn nothing toward an Eligible

Season: “the notion that a player should be given credit for the time he served on an injured

reserve list for an injury . . . other than a concussion or head injury, makes no sense. For

example, a Retired NFL Football Player who suffers a broken leg on the first day of training

camp is unlikely to have experienced the same level of exposure as a player who played for a

Member Club all season long.” Id. at 112.

       Accepting the arguments of the Parties, and rejecting those of certain objectors, the Court

found that Eligible Seasons, as a measure of a Retired NFL Player’s career, was “a proxy for the

number of concussive hits a retired Player experienced” 6

                      Proceedings Below & Ruling of the Special Master

       As summarized by the Special Master, the NFL wanted an absolute exclusion of any

Retired NFL Football Player who was listed as inactive during any week, whether or not they



       6
                 In re Nat. Football League Players’ Concussion Injury Litig., 307 F.R.D. at 409.
The Court of Appeals for the Third Circuit concurred “with the District Court that the definition
of eligible season in the settlement was reasonable because it is a proxy for the number of head
injuries.” In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410, 444 n.14
(3d Cir. 2016), as amended (May 2, 2016) 821 F.3d 410, 444 n.14
                                                 6
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were injured, arguing that allowing such player to earn credit toward an Eligible Season would

render superfluous the crediting of “games on the Inactive List due to a concussion or head

injury.” Ruling at 3. In contrast, the Special Master noted that “Co-Lead Class Counsel argue

that the ‘letter and spirit’ of the Settlement Agreement is violated by excluding rostered Players

who practice the week leading up to the game but were placed on the Inactive List 90 minutes

before kickoff from Eligible Season accrual” as argued for by the NFL. Id.

       The Special Master rejected the arguments of the NFL, and held that “the plain meaning

of the terms of the Agreement” requires that “NFL Players who were on the Active List on the

calendar day of their Club’s particular regular season or postseason game shall receive credit

toward that game for the purposes of calculating an Eligible Season.” Ruling at 8. Following

the letter of the Settlement Agreement, the Special Master also recognized that players who were

sidelined with injuries (on Injured Reserve or inactive due to injury 7) would not receive credit

toward an Eligible Season unless they had a “concussion or head injury.” Ruling at 5, 7. The

Special Master noted that this allowed players who received head hits throughout the week to

receive credit towards an Eligible Season (rather than no credit). Ruling at 7-8.

       Importantly, the Ruling, like the arguments of the Parties, was based on the language of

the Settlement Agreement and the revisions of the 1970 NFL Constitution and Bylaws which

provide that the list of inactive players is made minutes prior to the game. The NFL made no




       7
          The designation of “Injured Reserve” carries severe consequences for both the team
and the player: a player on Injured Reserve is ineligible to play for the remainder of the season,
even if he had been on the Active List and eligible to play. See e.g. NFL Constitution § 17.6 and
17.18. Accordingly, for the purposes of the Settlement Agreement, when injuries were not
sufficiently grave to put a player on “the injured reserve list,” he will merely be placed on “the
injured inactive list,” thereby missing practice and perhaps a game (and all related head hits) in
the interim, but not sidelined for the entire season.
                                                 7
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argument before the Special Master regarding the following, and upon which they now seek a

different outcome than the one set forth in the Ruling:

        •   The bald assertion that some earlier revisions of the NFL Constitution (which the
            NFL did not present) provided that some players would be listed as inactive prior to
            game day, without providing extant copies of these earlier versions. Objection at 9.

        •   The new concern that injured players who are listed as inactive on game day might be
            given credit toward an Eligible Season even if they had not suffered a “concussion or
            head injury.” Objection at 3, 9.

        •   The declaration of Kenneth Fiore, which presents entirely new facts and relies (often
            without citation and always without providing copies) on documents other than the
            NFL Constitution—documents that are not incorporated by reference into the
            definition of “Active List” in the Settlement Agreement.

                                          ARGUMENT

        Game day was the culmination of an entire week’s practice for Retired NFL Football

Players on the Active List, but not all of these player would be allowed to “suit up” for the game.

And only some of those who suited up would ever make it to the field. The Settlement seeks,

among other benefits, to compensate Retired NFL Football Players for the harm they suffered

over the course of their NFL careers, including (and often most critically) throughout a week’s

practice. Recognizing the medical link between repeated head hits and certain neurocognitive

conditions, the Settlement provides for Monetary Awards to Retired NFL Football Players who

develop a Qualifying Diagnosis. The amount of a Monetary Award takes into account the length

and nature of the Retired NFL Football Player’s career, by calculating his Eligible Seasons. As

the Special Master held, Retired NFL Football Players on the Active List earn a full credit for the

risk they were exposed to throughout the week, whether or not they ever ended up on the field.

Retired NFL Football Players on developmental, taxi, or practice squads also earn credit, albeit

less credit. Retired NFL Football Players sidelined with injuries earn no credit, unless their

injuries relate to a head hit.

                                                 8
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       The Objections of the NFL should be rejected for two reasons. First, the NFL objects to

the Ruling of the Special Master primarily through new arguments and new (and irrelevant) facts

not raised earlier, including, most obviously, the entire Declaration of Kenneth Fiore. While the

Court reviews de novo conclusions of law by the Special Master, 8 the Parties do not, thereby,

enjoy de novo argument; new arguments and facts should be ignored by the Court. 9 Otherwise,

referral made by the Court would be turned into a meaningless exercise. 10

       Second, even if the Court were to consider the new facts and arguments improperly

offered by the NFL in its Opposition, the Court can and should affirm the holding of the Special

Master: “NFL Players who were on the Active List on the calendar day of their Club’s particular

regular season or postseason game shall receive credit toward that game for the purposes of

calculating an Eligible Season.” And, by the plain language of the Settlement Agreement,

players who were sidelined with injuries (except concussions and other head injuries) would not

receive credit.   This is the very purpose of the proxy established by the term “Eligible

Seasons”—as a stand-in for head hits throughout any given week.




       8
            While review is de novo, the Court may rely on the Ruling to the extent it deems
proper. Gemmer v. Surrey Svcs. for Seniors, Inc., Civ. No. 10-810, 2010 WL 5129241, at *1, n.1
(E.D. Pa. Dec. 13, 2010).
         9
            See, e.g., Lewis v. Astrue, Civ. No. 11-3986, 2012 WL 1231878, at *6 (E.D. Pa. April
11, 2012) (citing Jimenez v. Barnhart, 46 Fed. Appx. 684, 685 (3d Cir. 2002); Commissariat A’
L’Energie Atomique v. Samsung Electronics Co., 245 F.R.D. 177. 179 (D. Del. 2007) (noting
similarity to de novo review, rather than de novo hearing, under Rule 53 and 28 U.S.C. § 636);
Dunkin’ Donuts Franchised Restaurants LLC v. Mehta, Civ. No. 07-0423, 2007 WL 2688710, at
*1 (W.D. Pa. Sept. 11, 2007) (rejecting declaration not previously submitted).
         10
             See, e.g., Net2Phone, Inc. v. Ebay, Inc., No. CIV.A. 06-2469 KSH, 2008 WL
8183817, at *4 (D.N.J. June 26, 2008) (“courts generally exclude evidence of new arguments on
objections ... because systematic efficiencies would be frustrated and the Special Master's role
reduced to a mere dress rehearsal.... In addition, it would be fundamentally unfair to permit a
litigant to set its case in motion before the Special Master ... and—having received an
unfavorable recommendation—shift gears before the reviewing judge.”) (citations and quotations
omitted).
                                                 9
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       The NFL’s late discovery of variations on the day the list of inactive players was

announced does not change the letter and spirit of the Settlement Agreement. Indeed, none of

the arguments put forth by the NFL below and none of the new facts and arguments made here

compel any different outcome. 11 The question of whether a player is “eligible” to play is

answered simply by being on the Active List. A player who was sidelined with injuries (either

injured reserve or inactive) earns no credit unless the injury relates to a head hit. The question of

whether a player inactive due to injuries will earn any credit turns on the nature of his injuries (or

being on Injured Reserve and simply not eligible to play) not, as the NFL now endeavors to

argue, on the date or time when the so-called Inactive List was announced. Indeed, the NFL’s

renewed effort to use the “Inactive List” to deny uninjured players on the Active List credit

toward an Eligible Season leads again to the absurd result condemned by the Special Master.

Active List players who did not “suit up” for a week’s game would earn no credit toward an

Eligible Season while players on the Practice Squad receive credit towards the specified half

Eligible Season. See Ruling at 7-8.

                                              CONCLUSION

       For all of the foregoing reasons, the Special Master’s Ruling on Application of the

Definition of Eligible Seasons to Game Day Roster Designations should be affirmed and the

Objections of the NFL thereto denied.




       11
           The Court, of course, has the power to modify the Ruling to preserve the core holding
by the Special Master in light of facts it may decide to consider. See, e.g. Johnson v. Smithklne
Beecham Corp., Civ. No. 11-5782, 2015 WL 1004308, at * 8 (E.D. Pa. Mar. 9, 2015) (on de
novo review under Rule 53(f), the Court may “adopt or affirm, modify, wholly or partly reject or
reverse, or resubmit to the master with instructions.”).
                                                 10
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 Dated: February 12, 2018            Respectfully submitted,

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              Exhibit
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